                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                   Case No. 19-54531-lsg

                                                     Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter,

             Plaintiff,

v.

Melinda J. Adducci,                                  Adversary Pro. No. 20-04381


     Defendant.
____________________________________/

FURTHER AGREEMENT OF THE PARTIES REGARDING DISCOVERY
       OF ELECTRONICALLY STORED INFORMATION




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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
In the matter of:
JOSEPH G. DUMOUCHELLE, and                                       Bankruptcy Petition No. 19-54531
MELINDA J. ADDUCCI,                                                         Hon. Lisa S. Gretchko
                  Debtor(s).                                                             Chapter 7


TEODOR GELOV,                                                             Adv. Pro. No. 20-04172
                        Plaintiff,                                         Hon. Lisa S. Gretchko
v.
MELINDA J. ADDUCCI,
                Defendant.


THOMAS T. RITTER,                                                         Adv. Pro. No. 20-04381
                                Plaintiff,                                 Hon. Lisa S. Gretchko
v.
MELINDA J. ADDUCI,
                                Defendant.


          AGREEMENT REGARDING E-DISCOVERY PROCESS AND TIMELINE

          THIS AGREEMENT is entered into by and between THOMAS RITTER and TEODOR

GELOV, Plaintiffs each in the two above referenced adversary proceedings (“Plaintiffs”) by and

through their counsel, Defendant, MELINDA J. ADDUCCI (“Defendant”), by and through her

counsel, and VESTIGE LTD, d/b/a “Vestige Digital Investigations”, of 23 Public Square Suite 250,

Medina, OH 44256 (“Vestige”), by and though its authorized representative. (Plaintiffs, Defendant,

and Vestige are referred to herein collectively as the “Parties”),

          WHEREAS on or about December 19, 2023, the Parties entered into an AGREEMENT

REGARDING ELECTRONIC DISCOVERY, which was incorporated into Court order in both

cases, on or about the same date;

          WHEREAS, the parties have agreed to alter/amend/further-define that process, as set forth

herein;

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        WHEREAS, Vestige has generated several Excel spreadsheets (“Reports”) identifying what

Vestige asserts is available Content and Artifact Data (“Data”) on each laptop;

        WHEREAS, Defendant has reviewed the Reports, marked each line item for assertions of

privilege and/or objections, and redacted accordingly;

        WHEREAS, Vestige and Plaintiffs confirm that Vestige has not shared with Plaintiffs, or

Plaintiff’s counsel, any of the unredacted information from said Excel spreadsheets, nor any of the

Data.

        WHEREAS, as a result of Defendant’s initial privilege review, a very large percentage of

the information from the Reports, and the Available Data from each laptop has been redacted and

withheld by Defendant, and not turned over by Vestige to Plaintiffs or Plaintiff’s counsel;

        WHEREAS, rather than engage in debate over the redaction and withholding of the

massive amount of information contained in the Reports, and the corresponding Data, much of

which is likely not relevant to the instant case, the parties have agreed to a different approach going

forward;

        NOW THEREFORE, the parties hereby agree as follows:

   1. The Reports and the Data will continue to be held by Vestige and not turned over to Plaintiff

        or Plaintiff’s counsel.

   2. Step 1 – Keywords Agreement

            a. Plaintiffs’ counsel and Defendant’s counsel will mutually develop a list of keywords

                (“Keyword List”) that Vestige will use to search the Reports and Data, and generate

                a list of results (“Results List”), and a count of the results generated for each

                keyword searched (“Count List”).




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                  i. Plaintiffs’ counsel and Defendant’s counsel will finalize the initial keyword

                     list by June 17, 2024.

   3. Step 2 – Vestige Search & Re-Searches

          a. Vestige will use the Keyword List to search the Reports and Data, and generate a list

             of results (“Results List”), and a count of the results generated for each keyword

             searched (“Count List”).

          b. Vestige will not turn over the Results List or Data to Plaintiff or Plaintiff’s counsel

             at any time before the time listed below, and will not discuss with Plaintiff or

             Plaintiff’s counsel the contents of the Results List or Data results of the search(es).

          c. Vestige will produce to Plaintiff’s counsel and Defendant’s counsel the Count List

             from the first search by Wednesday June 19, 2024.

          d. Based on the Count List, Plaintiff’s counsel and Defendant’s counsel may make

             revisions to the keywords list (multiple times if needed) until a manageable list

             Results List and Count List has been obtained.

                  i. The parties hope to have Vestige run the final search by Friday June 21,

                     2024.

          e. Once the above search process has been completed, Vestige will turn over, to

             Defendant’s counsel only, the Results List of the final search (“Final Results List”),

             and all of the corresponding files to each result on the Final Results List (“Files”)

                  i. The “Files” do not include any files or information from the Data that was

                     not both listed on the Final Results List and provided to Defendant’s counsel.

          f. Vestige will not inform Plaintiff or Plaintiff’s counsel about, nor turn over to

             Plaintiff or Plaintiff’s counsel, the Final Results List, nor any of the intervening



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             Results List, nor any of the Files, or any other files from the computers, except as set

             forth below.

   4. Step 3 – Defendants’ Review

          a. Defendant’s counsel will review the Final Results Lists and Files for redaction /

             objection / privilege assertion on behalf of Melinda Adducci and Joseph

             DuMouchelle, and will markup and redact the Final Results List in a similar style as

             was done to the original Reports. (“Response List”)

                   i. To the extent that Defendant’s counsel determines that any of the Files that

                      are not being withheld (ie: that will be produced to Plaintiff’s counsel)

                      require internal redaction, Plaintiff’s counsel will redact the contents of said

                      Files themselves. (“Redacted Files”)

          b. Defendant’s counsel will produce to Plaintiffs’ counsel, by Friday July 12, 2024 (or

             21 days after final Results Lists is produced by Vestige to Defendant’s counsel), the

             following:

                   i. the final form of the Response List as redacted by Defendant’s counsel

                  ii. any Redacted Files, the production of which, as redacted internally,

                      Defendants are not objecting to; and

                  iii. any other Files to which Defendants do not object to turnover or assert-

                      privilege.

   5. Step 4 – Plaintiff’s Review and Response to Response Lists.

          a. Plaintiffs’ counsel will have 7 days to review the Response List and Redacted Files

             produced by Defendant.




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          b. Plaintiffs’ counsel and Defendants counsel will meet and confer by Friday July 19,

              2024 regarding any dispute(s) that Plaintiffs’ counsel may have.

   6. Step 5 – Court Resolution (If Needed)

          a. The parties will schedule a status conference with Court on or about Friday, July 26

              to resolve any disputes regarding the Response List or the Redacted Files, or the ESI

              generally.

   7. Step 6 – Production to Plaintiff.

          a. Defendant shall promptly authorize Vestige to produce the following to Plaintiff’s

              counsel, with CC to Defendant’s counsel, the following:

                   i. all Files regarding which Defendant has not asserted privileged;

                  ii. all Files regarding which Defendant has not objected;

                  iii. all Files which have been redacted, and to which Defendant does not object

                      to production of, as redacted; and

                  iv. the redacted Response List.

          b. Vestige will only release Files that are withheld on the grounds of privilege, or that

              are objected to, that are subject to disagreements between Plaintiff(s) and Defendant

              upon order of the court directing their production.

   8. Step 4 - Depositions

          a. Defendant’s depositions will be scheduled for a Monday in August or September,

              after the Court has made any necessary rulings, and Plaintiffs have been provided

              the Response List and non-privileged Files to be produced, including any Redacted

              Files in lieu of unredacted Files.




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            b. In the event that Defendant’s second deposition cannot be completed on the same

                day, the parties will schedule the next available Monday to finish the time remaining

                in that deposition.

TAFT STETTINIUS &                                     JOHN R. FOLEY, P.C.
HOLLISTER, LLP

                                                      By:
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jwelford@taftlaw.com                                  Counsel for Defendant, Melinda J. Adducci
kclayson@taftlaw.com
                                                      Dated: __________
Counsel to Plaintiff, Teodor Gelov and
Plaintiff Thomas T. Ritter

Dated: __________




VESTIGE DIGITAL INVESTIGATIONS


By:
Greg Kelley
Its: Chief Technology Officer

 Dated: __________




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                                                       Honorable Lisa S. Gretchko
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____________________________________/

Thomas T. Ritter,

               Plaintiff,

v.

Melinda J. Adducci,                                    Adversary Pro. No. 20-04381


     Defendant.
____________________________________/

                             CERTIFICATE OF SERVICE

         I hereby certify that on June 26, 2024, I caused to be served a copy of the

Further Agreement Of The Parties Regarding Discovery Of Electronically Stored

Information and this Certificate of Service with the Clerk of the Court, which sends

notice by operation of the Court’s electronic filing service to all ECF participants

registered to receive notice.




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                                        TAFT STETTINIUS &
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                                        Counsel to Plaintiff, Thomas T. Ritter

                                        Dated: June 26, 2024




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